    Case 1:07-cr-00019-RJA-JJM      Document 191    Filed 10/02/07   Page 1 of 2




UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                                                ORDER
             v.                                                 07-CR-019

JAMES REED,
BYRON COBB,
THEODORE HUFFMAN,
JAMAR PAUL,
CHRISTOPHER HUFF,
SHELTRICE RHODES,
CURTIS MOSS,
NORMA LTHOMPSON and
MARTELL JORDAY,

                                 Defendants.


      The above-referenced case was referred to Magistrate Judge Jeremiah J.

McCarthy, pursuant to 28 U.S.C. § 636(b)(1). On September 6, 2007, Magistrate

Judge McCarthy filed a Report and Recommendation, recommending that

defendants’ motions to suppress the evidence obtained from the search warrants

and wiretap orders and to dismiss the indictment be denied.

      The Court has carefully reviewed the Report and Recommendation, the

record in this case, and the pleadings and materials submitted by the parties. No

objections having been timely filed, it is hereby

      ORDERED, that pursuant to 28 U.S.C. § 636(b)(1), and for the reasons set

forth in Magistrate Judge McCarthy’s Report and Recommendation, defendants’
   Case 1:07-cr-00019-RJA-JJM     Document 191     Filed 10/02/07   Page 2 of 2




motions to suppress the evidence obtained from the search warrants and wiretap

orders and to dismiss the indictment are denied.

      Counsel shall appear for a meeting to set a trial date on October 4, 2007 at

9:00 a.m.


      SO ORDERED.

                                     s/ Richard J. Arcara
                                     HONORABLE RICHARD J. ARCARA
                                     CHIEF JUDGE
                                     UNITED STATES DISTRICT COURT

DATED: October 2, 2007




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